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                    UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF VIRGINIA
                         CHARLOTTESVILLE DIVISION


   “Baby L.,” a minor, et al.,

                  Plaintiffs,
                                                            Civil Action No. 3:20-cv-9
   v.

   Dr. MARK ESPER, in his official capacity as
         Secretary for the U.S. Department of Defense
         et al.,

                  Defendants.


                                  PROPOSED ORDER

         Having reviewed Defendants’ Motion to Seal, and for good cause shown, the

  Court GRANTS Defendants’ Motion. It is hereby ORDERED that the following

  categories of information in Plaintiffs’ Preliminary Memorandum in Opposition to

  Defendants’ Motion to Modify Pseudonym and Sealing Orders remain under seal: (1)

  information within categories that are already subject to the Court’s prior pseudonym

  and sealing orders; (2) information identified by the United States as implicating

  national security concerns or as law enforcement sensitive information; (3) information

  describing proceedings in other courts that are subject to a court seal; and (4)

  statements in Plaintiffs’ filing that implicate the reputational and privacy interests of

  third parties. In regard to information in categories (2)-(4) not already subject to the

  Court’s prior orders, the Court finds that in each instance, the significant interest in

  protecting this information outweighs the common law presumption in favor of public

  access. Here, the public interest in the information is diminished given the lack of
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  relevance of the information to the narrow issue before the Court raised by

  Defendants’ Motion to Modify Pseudonym and Sealing Orders. The information under

  seal in this document shall remain sealed in perpetuity.

         SO ORDERED.

         Dated: ___________                                  ___________________
                                                             Judge Norman K. Moon
